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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )        Case No. 1:08CR00024-034
                                               )
v.                                             )        OPINION AND ORDER
                                               )
KEESHA LACREE ROBBINS,                         )        By: James P. Jones
                                               )        United States District Judge
                                               )
                 Defendant.                    )

       Keesha Lacree Robbins, Pro Se Defendant.

       The defendant, previously sentenced by this court on February 20, 2009, to

180 months imprisonment, has filed a pro se pleading entitled “Clarification of

Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255.”

For the following reasons, the motion will be denied.

       On September 8, 2015, by Standing Order, the Federal Public Defender for

this District was appointed to represent the defendant in connection with a possible

claim under Johnson v. United States, 135 S. Ct. 2551 (2015). Thereafter, the

defendant herself filed on June 13, 2016, a motion entitled “Pro Se Motion for

Modification of Sentence Pursuant to 18 U.S.C. 924(c) (Johnson v. United

States),” and on June 20, 2016, another pro se motion entitled “Permission and

Clarification to File a (2255) Motion & Request for Appointment of Counsel as
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Per New Supreme Court Decisions in Johnson & Welch & Permission for Filing to

be Permitted in Abeyance Due to Johnson Petition Deadline.” On June 22, 2016,

the court by order advised the defendant pursuant to Castro v. United States, 540

U.S. 375 (2003), of her opportunity to elect whether or not she wished the court to

address the document as a motion under 28 U.S.C. § 2255. The defendant was

directed to either advise the court within 15 days of her objection to her document

being treated as a motion under § 2255, or to file a completed § 2255 motion with

a form that was included with the order. On June 23, 2016, the Federal Public

Defender filed a motion seeking to withdraw as counsel on the ground that, after

investigation, counsel found no grounds for relief under Johnson. That motion to

withdraw was granted by order entered June 24, 2016.

     On August 30, 2016, the court dismissed the defendant’s motion filed June

20, 2016, on the ground that she had failed to comply with the court’s order of

June 22, 2016.

     On October 24, 2016, the defendant filed the present motion, alleging that

she had in fact filed a competed § 2255 form as directed within the time specified,

and included a copy of the completed form alleged filed.

     Even assuming that the defendant filed a proper and timely § 2255 motion,

she is not entitled to any relief. The record shows that while she pleaded guilty to

and was sentenced under 18 U.S.C. § 924(c), the charged conduct was the use or


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possession of a firearm in furtherance of a drug trafficking offense and not in

furtherance of a crime of violence. See 18 U.S.C. § 924(c)(1)(A). The Johnson

decision thus cannot apply, since it was only involved with the definition of a

crime of violence.

     For these reasons, it is ORDERED that the defendant’s motions (ECF Nos.

3382 and 3451) are DENIED. A certificate of appealabiltiy is DENIED.



                                            ENTER: May 11, 2017

                                            /s/ James P. Jones
                                            United States District Judge




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